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                                                                           United States Bankruptcy Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                  IN THE UNITED STATES BANKRUPTCY COURT                        October 23, 2023
                    FOR THE SOUTHERN DISTRICT OF TEXAS                         Nathan Ochsner, Clerk
                             HOUSTON DIVISION

IN RE:                          §
                                §                  CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                            §                  CHAPTER 7
                                §
       Debtor.                  §
                                §
JOHN QUINLAN,                   §
OMAR KHAWAJA,                   §
OSAMA ABDULLATIF, AND           §
                                §
VS.                             §                  ADVERSARY NO. 23-3141
                                §
JETALL COMPANIES, INC.,         §
ARABELLA PH 3201 LLC,           §
9201 MEMORIAL DR. LLC,          §
2727 KIRBY 26L LLC,             §
TEXAS REIT LLC,                 §
DALIO HOLDINGS I, LLC,          §
DALIO HOLDINGS II, LLC,         §
HOUSTON REAL ESTATE PROPERTIES, §
LLC,                            §
SHAHNAZ CHOUDHRI,               §
ALI CHOUDHRI,                   §
SHEPHERD-HULDY DEVELOPMENT I, §
LLC,                            §
SHEPHERD-HULDY DEVELOPMENT II, §
LLC,                            §
GALLERIA LOOP NOTE HOLDER LLC, §
A. KELLY WILLIAMS,              §
MAGNOLIA BRIDGECO, LLC,         §
CYPRESS BRIDGECO, LLC,          §
MOUNTAIN BUSINESS CENTER, LLC, §
AND                             §
RANDY W WILLIAMS CH7 TRUSTEE,   §
                                §
       Defendants.              §

                      ORDER DENYING MOTION (ECF NO. 57)

     Before the Court is the Motion to Reconsider filed by 2727 Kirby 26L LLC, 9201
Memorial Dr. LLC, And Shepherd, Huldy Development I, LLC, defendants in this case, and the

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response in opposition filed by the plaintiffs, Osama Abdullatif, Omar Khawaja, John Quinlan
(ECF No. 93). The motion in all things is denied.

        The Motion seeks to vacate the order based on violations of due process and to correct a
clear error of fact or law. The Court declines to do so for the following reasons.

         First, the Agreed Order is an agreement between the parties to that order. It only binds the
parties to that order [the BridgeCo Defendants] and any language regarding any sale of property
would still require a motion and order in the main bankruptcy case to which the movants herein
could object. Additionally, the Trustee owns only the debtor’s interest in the subject properties as
of the petition date and can only sell that interest. That the movants believe that the Trustee could
sell the interest of an unrelated third party is without merit.

        The properties are subject to disputed claims that they are part of the bankruptcy estate via
claims of alter ego, joint enterprise liability and fraudulent transfers. Assuming these allegations
are true, and these issues have yet to be litigated, this Court has jurisdiction. To rule otherwise
would thwart the Bankruptcy Code and the role of the Chapter 7 Trustee to liquidate assets for the
benefit of creditors. of the liquidating trustee. The Court agrees with the respondents as to the
Court’s jurisdiction.

       For these reasons, it is ORDERED that the Motion to Reconsider is in all things denied.

        SIGNED 10/23/2023


                                                     ___________________________________
                                                     Jeffrey Norman
                                                     United States Bankruptcy Judge




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